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MEMPr-rrs DivisroN

UN|TED STATES OF AMER|CA

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CHR|STOPHER NIARSHALL
Marty B. Nchfee, CJA

Defense Attorney
246 Adams Avenue
N|emphis, Tennessee 38103

 

JUDGN|ENT |N A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on lVlay 10, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s)

 

Date Offense Count
Tit|e & Section Nature of Offense Concluded Number(s)
18 U.S.C. § 924(0); Use of a firearm during and in relation 10/27/2002 2

18 U.S.C. § 2 to a bank robbery

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Fiestitution Act of 1996.

Count 1 is dismissed on the motion cf the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 411-37~3567 Date of imposition of Sentence:
Defendant’s Date of Birth: 01/19/1982 August 18, 2005
Deft’s U.S. Marshal No.: 19251-076

Defendant’s Ftesidence Address:
3425 Parker
Nlemphis,TN 38111

Mg//’WL_,

SA|V|UEL H. MAYS, JH.
UN|TED STATES D|STR|CT JUDGE

 

August , 2005

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Case No: 03-20417-02-Ma
Defendant Name: Christopher Marshal| Page 2 of 5

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of eighty-tour (84) months.

The Court recommends to the Bureau of Prisons:
That defendant participate in the 500 hour drug rehabilitation program

That defendant be designated to serve his term of imprisonment at a facility closest
to l'\/lemphisr Tennessee.

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES l\/lAFlSHAL
By:

 

Deputy U,S. l\/larsha|

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Case No: 03-20417-02-|\/|a
Defendant Name: Christopher |V|arshall Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report Within the first five days of each month;

3_ The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substanoe;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No.' 03-20417-02-|‘\/|a
Defendant Name: Christopher N|arsha|l F'age 4 of 5

10.

`i`i.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested cr questioned by a
law enforcement officer,l

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency Without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crirninal l\/lonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release.l

1.

The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

The defendant shall seek and maintain lawful full-time employment
The defendant shall obtain his Genera| Educationa| Development {GED) Dip|oma.

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 03-20417-02-Ma
Defendant Name: Christopher Nlarsha|i Page 5 of 5

CRIM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately

FlNE
No fine imposedl

REST|TUT|ON
No Ftestitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 113 in
case 2:03-CR-20417 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

Marty B. MeAfee
MCAFEE & MCAFEE
246 Adams Ave.
1\/1emphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

